 1   MARK R. CONRAD (CA Bar No. 255667)             DANIEL J. KRAMER
     WARREN METLITZKY (CA Bar No. 220758)           (pro hac vice application forthcoming)
 2   CONRAD & METLITZKY LLP                         SARA E. HERSHMAN
     Four Embarcadero Center, Suite 1400            (pro hac vice application forthcoming)
 3   San Francisco, CA 94111                        PAUL, WEISS, RIFKIND, WHARTON &
     Tel: (415) 343-7100                            GARRISON LLP
 4   Fax: (415) 343-7101                            1285 Avenue of the Americans
     Email: mconrad@conradmetlitzky.com             New York, NY 10019
 5   Email: wmetlitzky@conradmetlitzky.com          Tel: (212) 373-3392
                                                    Fax: (212) 492-0392
 6   BETH LITTRELL                                  Email: dkramer@paulweiss.com
     (pro hac vice application forthcoming)         Email: shershman@paulweiss.com
 7   SOUTHERN POVERTY LAW CENTER
     150 E. Ponce de Leon Ave, Suite 340
 8   Decatur, GA 30030
     Tel: (404) 221-5876
 9   Fax: (404) 221-5857
     Email: beth.littrell@splcenter.org
10
     Attorneys for Plaintiff TANYA GERSH
11

12                                 UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN FRANCISCO DIVISION
15

16   TANYA GERSH,                               CASE NO. 4:20-MC-80215-KAW
17           Plaintiff,
                                                MEMORANDUM OF LAW IN SUPPORT OF EX
18      v.                                      PARTE APPLICATION FOR PRESERVATION
                                                ORDER PROHIBITING THE TRANSFER OR
19   ANDREW ANGLIN,                             CHANGE OF REGISTRANT INFORMATION
                                                CONCERNING DEFENDANT/JUDGMENT
20           Defendant.                         DEBTOR’S DOMAIN NAME HOLDINGS
21

22

23

24

25

26

27

28
     Case No. 4:20-mc-80215-KAW                 MEMO. ISO EX PARTE APP. FOR PRESERVATION ORDER
 1   I.     INTRODUCTION

 2          Plaintiff/Judgment Creditor Tanya Gersh was the victim of a campaign of anti-Semitic

 3   harassment and intimidation conducted against Ms. Gersh and her family by Defendant/Judgment

 4   Debtor Andrew Anglin through his neo-Nazi website, the Daily Stormer. In a prior action in the District

 5   of Montana, Ms. Gersh obtained a $14 million judgment against Mr. Anglin. In this action, Ms. Gersh

 6   seeks to satisfy that judgment by obtaining a writ of execution against assets owned by Mr. Anglin

 7   located in the Northern District of California.

 8          Specifically, Ms. Gersh seeks to attach the Internet domain names under which the Daily

 9   Stormer is registered, including at least one such domain name held by a registrar in this District:

10   Dynadot LLC (“Dynadot”). A preservation order is necessary to prevent Mr. Anglin from thwarting

11   satisfaction of Ms. Gersh’s judgment by transferring or otherwise disposing of the domain names before

12   an attachment can be effected.

13   II.    FACTUAL BACKGROUND

14          A.      DISTRICT OF MONTANA JUDGMENT AGAINST ANGLIN

15          On August 8, 2019, Chief Judge Dana L. Christensen of the United States District Court for the

16   District of Montana issued an Order directing the Clerk of the Court to enter judgment in favor of Ms.

17   Gersh, and against Mr. Anglin, for $4,042,438 in compensatory damages and $10 million in punitive

18   damages for a campaign of anti-Semitic harassment and intimidation that Mr. Anglin conducted against

19   Ms. Gersh and her family through his neo-Nazi website, the Daily Stormer. Decl. of Marcelo A. Triana

20   (“Triana Decl.”) ¶ 2. Since the Judgment was entered, Ms. Gersh has been unable to collect any money

21   from Mr. Anglin. This is due in part to Mr. Anglin’s refusal to participate in any legal proceedings,

22   including post-judgment discovery, the difficulty in locating any of Mr. Anglin’s assets, and his repeated

23   shifting of domain name registrations for the Daily Stormer. Id. ¶ 3.

24          Counsel has been unable to determine Mr. Anglin’s whereabouts or the location of his residence.

25   On September 2-3, 2020, Ms. Gersh served Mr. Anglin, via FedEx, with post-judgment discovery

26   requests, returnable by October 4, 2020, at six Ohio addresses previously known to belong to Mr.

27   Anglin. On September 4, 2020, Ms. Gersh also served these discovery requests by sending them to four

28   email addresses belonging to Mr. Anglin. Id. ¶ 4. Through these discovery requests, Ms. Gersh sought
                                                       -1-
     Case No. 4:20-mc-80215-KAW                          MEMO. ISO EX PARTE APP. FOR PRESERVATION ORDER
 1   information regarding Mr. Anglin’s assets, as well as his current and former residences and email

 2   addresses. Id. These discovery requests have been returned as undeliverable from four of the Ohio

 3   addresses and one of the email addresses. Id. Mr. Anglin has failed to respond to any of the requests,

 4   thus preventing Ms. Gersh from identifying Mr. Anglin’s assets. Id.

 5          B.      DOMAIN NAME REGISTRATION

 6          When creating a website, a registrant must register a domain name with two separate entities: a

 7   registrar and a registry. A domain name registry is an organization that operates an authoritative master

 8   database of the domain names registered in a top-level domain (“TLDs”) (e.g., “.com”, “.net”, “.org”).

 9   Decl. of Mark R. Conrad (“Conrad Decl.”) ¶ 3. In other words, the registry controls the TLDs

10   associated with it, and also possesses a record of each domain name registered under that TLD. Id. On

11   the other hand, registrars are organizations that work directly with registrants (i.e., individuals or

12   entities) seeking to register a domain name with the registry. Id. Registrars are responsible for

13   collecting the required information from registrants, and the information they collect comprise the

14   official record for each domain name’s ownership. Id. Pursuant to an agreement with the nonprofit

15   Internet Corporation for Assigned Names and Numbers, which oversees the Internet, registrars must

16   create a public database of WHOIS data for each domain name it registered.1 Id.

17          WHOIS ownership and registration information can be changed at any time by the registered

18   owner or by someone working on the registered owner’s behalf. Id. ¶ 5. A registered owner can change

19   the ownership record by simply logging into their account with the registrar, through which the

20   corresponding registration was processed, then go to their owner profile and input new registrant

21   information. Id. Registrars do not and are under no obligation to verify that WHOIS ownership and

22   registration information pertains to an actual person or entity, much less to the person or entity that

23   actually owners or controls the domain name. Id.

24

25
     1
26       See 2013 Registrar Accreditation Agreement, ICANN, § 3.3.1,
         https://www.icann.org/resources/pages/approved-with-specs-2013-09-17-en#whois-accuracy (last
27       visited Oct. 29, 2020) (“At its expense, Registrar shall provide an interactive web page and . . . a port
         43 Whois service . . . providing free public query-based access to up-to-date (i.e., updated at least
28       daily) data concerning all active Registered Names sponsored by Registrar in any gTLD.”).
                                                         -2-
     Case No. 4:20-mc-80215-KAW                           MEMO. ISO EX PARTE APP. FOR PRESERVATION ORDER
 1            C.     ANGLIN’S DOMAIN NAME HOLDINGS

 2            Mr. Anglin has described his website, the Daily Stormer, as a website “designed to spread the

 3   message of nationalism and anti-Semitism to the masses.” Triana Decl. ¶ 5. By monitoring Mr.

 4   Anglin’s internet postings, and through the use of Internet search engines, counsel for Ms. Gersh has

 5   identified 18 different domain names that Mr. Anglin has used to publish the Daily Stormer.2 These

 6   domain names include: “dailystormer.com”; “dailystormer.net”; “dailystormer.name”;

 7   “dailystormer.red”; “dailystormer.ru”; “dailystormer.su”; “dailystormer.at”; “dailystormer.is”;

 8   “dailystormer.ai”; “dailystormer.ws”; “dailystormer.hk”; “dailystormer.top”; “punishedstormer.com”;

 9   “dailystormer.wang”; “dailystormer.cat”; “dailystormer.lol”; “dailystormer.al”; “dailystormer.ph”. Id.

10   The numerous domain names that have been used to publish the Daily Stormer reflects Mr. Anglin’s

11   frequent and ongoing efforts to avoid suppression of the site.

12            By searching the public WHOIS databases, counsel has identified Dynadot LLC (“Dynadot”) as

13   the registrar for the “dailystormer.red” domain name. Conrad Decl. ¶ 4. Dynadot is located in the

14   Northern District of California (the “District”). Id. ¶ 2.

15            D.     RISK OF TRANSFER OR CHANGE OF WHOIS REGISTRANT
                     INFORMATION RELATING TO ANGLIN’S DOMAIN NAME HOLDINGS
16

17            Ms. Gersh is seeking to attach the domain names for Mr. Anglin’s websites held by Dynadot as

18   registrar, including the Daily Stormer, as part of her effort to collect on the Judgment against him.

19   There is a risk, however, that Mr. Anglin will try to transfer or change the registration before Ms. Gersh

20   can affect the attachment to try to frustrate her collection efforts.

21   III.     ARGUMENT

22            Any and all domain names registered by Mr. Anglin with Dynadot, including but not limited to

23   the Daily Stormer website, are intangible personal property that may be attached and used to satisfy the

24   Judgment held by Ms. Gersh. To ensure that Mr. Anglin does not thwart satisfaction of the Judgment

25   against him, this Court should enter a preservation order requiring Mr. Anglin and Dynadot to preserve

26     2
           See Aja Romano, Neo-Nazi Site Daily Stormer Resurfaces with Russian Domain Following Google
27         and GoDaddy Bans, VOX (Aug. 16, 2017 1:30PM),
           https://www.vox.com/culture/2017/8/16/16156210/daily-stormer-russian-domain-godaddy-google-
28         ban.
                                                       -3-
     Case No. 4:20-mc-80215-KAW                            MEMO. ISO EX PARTE APP. FOR PRESERVATION ORDER
 1   the domain names at issue until Ms. Gersh’s claims to them are resolved. The intangible personal

 2   property should be preserved by notification to Dynadot by the levying officer, the United States

 3   Marshall Service, that the domain names shall be preserved.

 4          A.      ANGLIN’S DOMAIN NAME HOLDINGS ARE PERSONAL PROPERTY THAT
                    ARE SUBJECT TO ATTACHMENT
 5

 6          Pursuant to Rule 69(a) of the Federal Rules of Civil Procedure, Ms. Gersh’s efforts to satisfy her

 7   judgment by attaching property in this District are governed by California law.

 8          Domain names are personal property subject to attachment under California law. See Office

 9   Depot Inc. v. Zuccarini, 596 F.3d 696, 701 (9th Cir. 2010) (affirming attachment of domain name in

10   collection action and ruling: “[W]e have already held that domain names are intangible property under

11   California law.”); Kremen v. Cohen, 337 F.3d 1024, 1030 (9th Cir. 2003) (finding plaintiff had an

12   intangible property right in his domain name). The Ninth Circuit has ruled that, “like other forms of

13   property, domain names are valued, bought and sold, often for millions of dollars, and they are now

14   even subject to in rem jurisdiction.” Kremen, 337 F.3d at 1030 (citations omitted).

15          California law permits a judgment creditor to pursue property belonging to a judgment debtor but

16   in the possession of a third party. All property that is subject to enforcement of a money judgment,

17   including property in the possession of a third party, may be levied upon under a Writ of Execution. See

18   Cal. Civ. Proc. Code §§ 695.010, 699.710, 701.010.

19
            B.      A PRESERVATION ORDER IS NECESSARY TO PREVENT ANGLIN’S
20                  DOMAIN NAMES TO BE TRANSFERRED OR OTHERWISE DISPOSED OF
                    BEFORE MS. GERSH IS ABLE TO EFFECT ATTACHMENT OF THEM
21

22          Section 699.070 of the California Code of Civil Procedure permits a party to move ex parte for a

23   “preservation order,” pursuant to which the court “may appoint a receiver or order the levying officer to

24   take any action the court orders that is necessary to preserve the value of property levied upon” under

25   certain circumstances, including “for some other reason the interests of the parties will be best served by

26   the order.” Cal. Civ. Proc. Code § 699.070(a).

27          Here, Ms. Gersh is seeking a preservation order to prevent Mr. Anglin from taking any action to

28   interfere with her ability to attach the domain names held by Dynadot, such as by transferring or
                                                        -4-
     Case No. 4:20-mc-80215-KAW                         MEMO. ISO EX PARTE APP. FOR PRESERVATION ORDER
 1   otherwise disposing of the domain names. Given Mr. Anglin’s history of abusive conduct, his use of

 2   multiple domain names, and his refusal to comply with discovery orders, a preservation order is

 3   warranted as an extra measure of protection against such interference. The preservation order would

 4   cause no prejudice to Dynadot, as it would merely preserve the status quo in regard to Mr. Anglin’s

 5   domain names while Ms. Gersh proceeds with the Writ of Execution and Notice of Levy process.

 6   IV.    CONCLUSION

 7          For the reasons stated above, the proposed preservation order should be entered, the United

 8   States Marshall Service should be directed to serve Dynadot with notice of the order directing it to

 9   preserve the domain names at issue, Dynadot should be ordered to provide the United States Marshall

10   Service with such documentation as is necessary to establish which domain names owned by Anglin are

11   registered with Dynadot, and the Court should grant Ms. Gersh such other relief as the Court deems

12   necessary and proper.

13

14   DATED: December 1, 2020                              Respectfully submitted,

15                                                        CONRAD & METLITZKY LLP
16

17
                                                          /s/ Mark R. Conrad
18                                                        MARK R. CONRAD
                                                          WARREN METLITZKY
19                                                        Attorneys for Plaintiff
20

21

22

23

24

25

26

27

28
                                                        -5-
     Case No. 4:20-mc-80215-KAW                         MEMO. ISO EX PARTE APP. FOR PRESERVATION ORDER
